   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 1 of 18



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

EDWARD BRAGGS, et al.,               )
                                     )
     Plaintiffs,                     )
                                     )
            v.                       )       CIVIL ACTION NO.
                                     )       2:14-CV-00601-MHT-GMB
JEFFERSON DUNN, in his official      )
capacity as Commissioner             )
of the Alabama Department of         )
Corrections, et al.,                 )
                                     )
     Defendants.                     )
                                     )


  PLAINTIFFS’ FIRST NOTICE OF NON-COMPLIANCE AND MOTION
 FOR ORDER TO SHOW CAUSE WHY DEFENDANTS SHOULD NOT BE
                      HELD IN CONTEMPT

     On February 20, 2018, the Court issued its first remedial opinion and order in

this matter. Doc. 1656, 1657. The remedy ordered in the Phase 2A Understaffing

Remedial Opinion and Order would, if followed, provide the Defendants,

Commissioner Jefferson Dunn and Associate Commissioner Ruth Naglich, with

the staff needed to address the “needless pain and suffering” caused by

Defendants’ “horrendously inadequate” system of mental-health care. Braggs v.

Dunn, 257 F. Supp. 3d 1171, 1186, 1267 (M.D. Ala. 2017).

     The Court adopted, with slight modifications, the timeline and process for

reaching adequate mental-health staffing levels proposed by Defendants. Doc.
                                         1
      Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 2 of 18



 1656 at 19-20; Doc. 1657 at 3-4. The Court noted that it had “already deferred to

 [defendants’] repeated delays in executing the contract for and implementing the

 RFP [Request for Proposals], and there can be no more delays.” Doc. 1656 at 20.

        Defendants have, nonetheless, failed to meet the first three mental-health

 staffing deadlines in the Order. Without enforcement by the Court, neither the

 understaffing itself, nor the many constitutional violations flowing from it, will be

 remedied.

 I.     BACKGROUND

        The Defendants’ plan to address mental health understaffing consisted of two

 parts:

       1. The implementation of a new contract with the staffing levels set forth in a

          Request for Proposal (“RFP”) issued by the Alabama Department of

          Corrections (“ADOC”) in July 2017;

       2. The development of mental health staffing ratios – a process that

          Defendants asserted should not begin until two months after full

          implementation of the RFP, so that the new mental health staff could adjust

          to their new positions.

Doc. 1583 at 3; Doc. 1656 at 21.

       The Court’s order required Defendants to implement the RFP staffing levels

according to the following schedule:

                                           2
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 3 of 18



          1. By May 1, 2018, ADOC’s new mental-health vendor, shall, in addition

             to continuing to fill those positions in place at the time of this order, fill

             at least 65% of the additional mental-health staffing positions provided

             for in the contract.

          2. By June 1, 2018, ADOC’s new mental-health vendor, shall, in addition

             to continuing to fill those positions in place at the time of this order, fill

             at least 75% of the additional mental-health staffing positions provided

             for in the contract.

          3. By July 1, 2018, ADOC’s new mental-health vendor, shall fill the

             mental-health staffing positions consistent with the contract.

Doc. 1657 at 3-4.

      As of July 1, 2018, the contract includes a payback penalty that applies only

if the vendor fails to fill 85% of the required FTE hours. However, the staffing

levels required by the contract, and thus by the Court’s order, are the full

complement of staff set out as the “Minimum Staffing Requirements” in the RFP.

Ruth Naglich, Nov. 29, 2017, R.D. Trial Tr., 39:12-41:6; Defs. Ex. 2934 at PDF pp.

203-16.

       A.     Delays in the Contracting Process and Shortening of
              Implementation Schedule

      On July 14, 2017, shortly after the issuance of the mental-health liability

 opinion in this case, the ADOC issued an RFP for a Comprehensive Inmate
                                             3
  Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 4 of 18



Healthcare Services contract. Defs. Ex. 2934. Under the RFP, ADOC proposed to

consolidate medical and mental healthcare into a single contract, ensuring that

whichever vendor won the contract would be taking on a significant new area of

responsibility.   Further, Commissioner Dunn had never been through the

contracting process for the complex healthcare contract with the ADOC. Comm’r

Jefferson Dunn, Nov. 30, 2017 Trial Tr., at 107:8-19.

     According to the original schedule in the RFP, vendors would submit

proposals by August 17, 2017, with the ADOC conducting interviews of the

bidders the week of August 28 and announcing its intended vendor on September

4. Id. at PDF p. 129. A final contract would be in place by November 1, and

implementation of the new contract would begin two months later on January 1,

2018. Id.

     The dates for the new contract began to slip immediately. ADOC issued

revised deadlines on July 17, 2017, and again on September 1, 2017. Ex. 1; Pls.

Ex. 1333. The deadline under the second revision for submission of proposals was

extended to September 8, 2017. Pls. Ex. 1333. At the same time, the ADOC

expanded the amount of time to accomplish each step of the contracting process.

Id. It announced that interviews would be done the week of October 2, 2017, and

the selected vendor would be announced on October 16, 2017. Id. ADOC would

present the contract to the legislative contract review committee at the committee’s

                                        4
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 5 of 18



November 2, 2017 meeting. Id. The implementation date was moved four months

to April 1, 2018, allowing roughly five months between the final step of the

approval by the committee and implementation. Id. Those five months could be

used by the vendor to prepare for a smooth transition – including the hiring of

staff.

         But the delays continued. No vendor had been selected by December 1,

2017.       Comm’r Jefferson Dunn, Dec. 1, 2017 Trial Tr., at 106:20-21.

Commissioner Dunn testified that he expected to announce the vendor by the end

of December, and that he believed this would leave enough time for

implementation by April 1, 2018. Id. at 106:25-107:9. Unable to bring the contract

to the contract review committee until the terms were fully negotiated, ADOC did

not present the contract to the committee until its March 2018 meeting. Ex. 2

(Excerpt of March 2018 Contract Review Committee Agenda). The contract was

not signed until March 9, 2018 – just 22 days before implementation. Pls. Ex.

1460 (ADOC-Wexford Contract) at ADOC0420258.

         The change of implementation from January to April was not just a

bureaucratic glitch; it was a four-month delay in the implementation of the staffing

requirements of the new contract.      Unfortunately, the delays in meeting the

staffing requirements of the Court’s Order have continued beyond the signing and

implementation of the contract.

                                        5
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 6 of 18



      B.      Mental-Health Staffing Requirements under the Court’s Order

      At the end of the last contract, ADOC required MHM Services, Inc.

(“MHM”), to have a total of 222.4 FTE (full-time equivalent) mental-health staff

members. Pls. Ex. 1312 (4th Amend. to MHM Contract) at ADOC0406013. The

RFP required the new vendor, Wexford Health Services, Inc. (“Wexford”) to have a

total of 263.2 FTE mental-health staff members. Defs. Ex. 2934 (July 2017 RFP) at

PDF pp. 204-205.

      The total difference in mental-health staff between the two contracts is 40.7

FTE. Going solely by total numbers of FTEs, 65% of that difference is 26.5 FTEs,

and 75% is 30.5 FTEs. Thus, ADOC was required to have the following staff in

place by the following dates:

                                 Date                       Total Mental Health
                                                              Staff Required
           May 1, 2018 (old contract + 65% of additional            249
           staff required by RFP)
           June 1, 2018 (old contract + 75% of additional          253
           staff required by RFP)
           July 1, 2018 (staff required by RFP)                   263.2

The staffing requirements for each position, derived from the last MHM contract

and the RFP are set forth in Exhibit 3 hereto. For the clinicians in the facility,

staffing was to be as follows:




                                           6
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 7 of 18




                  Position            Required by      Required by     Required by
                                      May 1, 2018      June 1, 2018    July 1, 2018
         Psychiatrists                    9.8             10.43           11.95
         Nurse Practitioners (MH)        10.8             11.28            12.4
         Psychologists                    6.6              6.88             7.5
         MHPs                             47              50.89           60.65
Ex. 3.

         C.    Mental-Health Staffing Levels

         As of March 31, 2018, the day before the change in vendor, there were 202.6

FTE mental-health staff. Doc. 1858-1 at 10. There were 5.6 FTE psychiatrists,

8.37 mental health nurse practitioners, 2.37 FTE psychologists, 28.98 MHPs, and

23.6 unlicensed MHPs. Id. at 4-10.

         On April 1, 2018, Wexford became the new vendor, under the new contract,

with the RFP staffing requirements. See Defs. Ex. 2934 (July 2017 RFP); Pls. Ex.

1460 (ADOC-Wexford Contract).

         In preparation for the June 2018 remedial trial, Plaintiffs sought, and

Defendants were ordered to produce, the April 2018 Wexford staffing report by

June 6, 2018, or as soon thereafter as they obtained it from Wexford. Doc. 1845-1

(Document Request No. 4); Doc. 1857.

         Defendants asserted in a pre-trial conference with Judge Thompson on June

1, 2018, that they knew how many mental-health staff are working in the ADOC

prisons. Ex. 4, Excerpt of June 1, 2018 Hearing Tr., at 18:19-25. But they did not

provide that information to Plaintiffs or the Court.

                                           7
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 8 of 18



      On June 6, 2018, the date Defendants were ordered to produce the staffing

report to Plaintiffs if they had received it, Defendants informed Plaintiffs that they

had received the report, but were going to “audit” the information and produce it to

Plaintiffs on Monday, June 11, 2018. Ex. 5. Defendants did not produce the report

on June 11, 2018, or anytime thereafter. Plaintiffs have repeatedly requested that

the information be provided, to no avail. Ex. 6.

      Plaintiffs have also attempted unsuccessfully to mediate this issue since June

1, 2018.

      The Court’s order required 263.2 FTE mental-health staff by July 1, 2018.

Doc. 1657 at 3-4; Defs. Ex. 2934 (July 2017 RFP) at PDF pp. 204-205; Pls. Ex.

1312 (4th Amend. to MHM Contract) at ADOC0406013.

      Defendants have provided no information about mental-health staffing levels

since implementation of the contract.         But there is substantial circumstantial

evidence that Defendants have not met the mental-health staffing requirements of

the Order.

      During the Remedial Hearing on Residential Treatment, Dr. Edward Kern,

the new ADOC Director of Psychiatry, testified that, as of April 25, 2018, he did

not believe any psychiatrists had been added to the staff since Wexford started

providing mental health services. Dr. Edward Kern, Apr. 25, 2018 Trial Tr., at 9:8-

25. Dr. Kern further testified that, to his knowledge, there was one part-time on-

                                          8
    Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 9 of 18



site psychiatrist in the ADOC, and no other psychiatrists who were working on-site

in the ADOC. Id. at 11:5-7. Dr. Kern was certain of just two psychiatrists, one of

whom he knew to be part-time, working in the ADOC. Id. at 10:7-10.

        Further, to glean more systemic information on mental-health staffing,

Plaintiffs have reviewed the open mental-health positions advertised by Wexford in

Alabama. As of July 2, 2018, Wexford was advertising for 101 mental-health

positions in ADOC facilities.1 See Exs. 7 (Wexford Mental-Health Job Postings in

ADOC), 8 (Wexford Mental-Health Nursing Job Postings in ADOC), 9 (summary

chart    of   Wexford   Mental-Health    Job   Postings   in   ADOC);     see   also

https://jobs.wexfordhealth.com/search/searchjobs, last visited on July 2, 2018. Of

those 101 positions, 32 are identified as being less than a 40-hour per week

position. 2   Counting an FTE employee as 40 hours per week, the listings thus



1
  There are actually 108 positions posted as mental-health positions or nursing
positions for mental health. See Ex. 7-9. However, seven ads are dated from
before implementation of the contract. Three such ads are somewhat general,
seeking MHPs, Psychiatrist, or Psychologists, without identifying a location. Four
ads are from late February seeking MHPs for specific locations, but it is impossible
to determine if they are the same positions posted after implementation of the
contract. Therefore, Plaintiffs have not counted those positions for purposes of this
motion. See https://jobs.wexfordhealth.com/search/searchjobs, last visited on July
2, 2018.
2
  Where a posting does not indicate the number of hours or that it is part-time,
Plaintiffs have assumed 40 hours per week. Most of the positions listed as part
time have a specific number of hours per week indicated. Three do not. See
https://jobs.wexfordhealth.com/search/searchjobs, last visited on July 2, 2018. For
those three, Plaintiffs have assumed 20 hours per week. Additionally, some of the
                                         9
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 10 of 18



suggest that that Wexford has 84.3 FTE open mental-health positions in ADOC.

The vacancies for mental-health clinicians represented by the job postings are

extraordinary:

           Position                   Requirements          Number of Job          % Filled*
                                       Under RFP              Openings
Director of Psychiatry                      1                    1                   0%
Psychiatrists                            11.95                  6.75                 44%
Nurse Practitioners (MH)                  12.4                  5.5                  56%
Psychologists                              7.5                  7.1                  5%
MHPs                                     60.65                 28.15                 54%
       * Assumes that a position for which no opening has been posted is filled.

       The contract and the Court order require 263.2 FTE mental-health staff by

July 1, 2018. Doc. 1657 (Understaffing Remedial Order) at 3-4; Defs. Ex. 2934

(July 2017 RFP) at PDF pp. 204-205. Assuming that positions that have not been

posted are filled, with 84.3 FTE posted open positions, there are just 178.9 FTE

filled positions.

                                           ARGUMENT

       The Court has the inherent authority to enforce its own orders. See, e.g.,

Carlisle v. United States, 517 U.S. 416, 438 (1996) (noting that “[e]xamples of the

exercise of the federal courts’ inherent powers are abundant in both our civil and

our criminal jurisprudence” and collecting cases); see also Degen v. United States,

517 U.S. 820 (1996). Courts have the “power to impose . . . submission to their


positions listed as full time have a specific number of hours indicated that is less
than 40. That reduction of hours has been included in the calculation.
                                                   10
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 11 of 18



lawful mandates.” Int'l Union, United Mine Workers of Am. v. Bagwell, 512 U.S.

821, 831 (1994) (citing Anderson v. Dunn, 6 Wheat. 204, 227 (1821)). The inherent

authority to hold a party in contempt is “a power ‘necessary to the exercise of all

others.’” Mine Workers, 512 U.S. at 831 (citing United States v. Hudson, 7 Cranch

32, 34 (1812)).

      Civil contempt requires clear and convincing proof of noncompliance with a

court order. Howard Johnson Co. v. Khimani, 892 F.2d 1512, 1516 (11th Cir.

1990); Newman v. Graddick, 740 F.2d 1513, 1524 (11th Cir. 1984). Once the

moving party makes a prima facie showing of non-compliance with the court order,

“the burden of production shifts to the alleged contemnor to show a present

inability to comply that goes ‘beyond a mere assertion of inability.” Howard

Johnson, 892 F.2d at 1516 (internal citations omitted).         In civil contempt

proceedings, the court does not look to the “subjective beliefs or intent of the

alleged contemnors in complying with the order, but whether in fact their conduct

complied with the order at issue.” Id. (citing Jim Walter Resources, Inc. v. Int'l

Union, United Mine Workers of America, 609 F.2d 165, 168 (5th Cir. 1980)).

Though “conduct that evinces substantial, but not complete, compliance with the

court order may be excused if it was made as part of a good faith effort at

compliance,” good faith is not itself an excuse for noncompliance. Newman, 740

F.2d at 1524.


                                        11
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 12 of 18



      Defendants were required to have the following mental health staff:

            • 249 FTE mental-health staff by May 1, 2018;

            • 253 FTE mental-health staff by June 1, 2018; and

            • 263.2 FTE mental-health staff by July 1, 2018.

Doc. 1657 (Understaffing Remedial Order) at 3-4; see supra at 6 (calculating the

Understaffing Remedial Order’s mental-health staffing requirements).

      Defendants claimed to know how many mental-health staff there were on

June 1, 2018, but failed to disclose this information. Ex. 4. They were ordered to

provide documents that would have shown the staffing levels as of April 30, 2018,

but have failed to do so. Doc. 1857.       Despite repeated requests, Defendants have

failed to provide any information about mental-health staffing levels since the

change in vendor, forcing Plaintiffs to rely on circumstantial evidence to determine

the current staffing levels. See, e.g., Exs. 5, 6.

      Based on Wexford’s posted job openings, there are 84.3 FTE mental-health

vacancies, indicating that there are currently only 178.9 FTE mental-health staff.

Exs. 7-9.

      Moreover, Defendants cannot claim to have made substantial progress

toward compliance. There are fewer mental-health staff now (178.9) than were

required under the prior contract (222.4). And Defendants appear to lost 23.7 FTE

mental-health staff since the transition to the new vendor at the beginning of April.

                                           12
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 13 of 18



Doc. 1858-1 at 10 (reporting 202.6 FTE mental-health staff at as of March 31,

2018).

      In the Understaffing Remedial Opinion, the Court recognized that there had

already been significant delays in implementing the increased staffing required

under the RFP. Doc. 1656 at 20. The Court informed Defendants there could be no

further delays in meeting these initial staffing requirements. Id.    But there were.

And the harms to prisoners who are mentally ill from the lack of professional

mental-health staff continue.

      Defendants’ failure to comply with the initial deadlines in the Court’s order

will also lead to cascading consequences for compliance with other aspects of the

Understaffing Remedial Order.        The second major component of Defendants’

remedial staffing plan, adopted by the Court, was a mental-health staffing analysis

to develop staffing ratios. Doc. 1657 at 4-5. This analysis is scheduled to start on

September 1, 2018. Id. Dr. Mary Perrien, one of Defendants’ mental-health

consultants, testified during the understaffing remedial trial that to do the staffing

analysis that will be the basis of the staffing ratios, “you [ ] need the program to be

sufficiently staffed so that you can get an accurate idea of how long it takes to

accomplish those tasks and duties.” Dr. Mary Perrien, Dec. 12, 2017 R.D. Trial Tr.,

at 26:11-13. Dr. Perrien explained that it is necessary to wait for the RFP to take

effect and be adequately staffed . . .

                                          13
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 14 of 18



      [b]ecause if you're understaffed, if there aren’t enough staff there, then
      you have staff who are either covering multiple positions, and so
      they’re not doing regular duties; or you have staff who are just
      handling emergencies and crises, so those staff aren’t doing regular
      duties either. So what you end up with is something that’s very
      provisional because you are, again, just sort of estimating what regular
      duties would be.

Id. at 81:17-24. Thus, not only are Defendants missing current deadlines in the

Understaffing Remedial Order, but they are also making it ever more unlikely that

they will be able to meet the future deadlines. Delays in conducting the staffing

analysis will, in turn, result in the delays in getting to the level of staffing needed to

remedy the constitutional violations that permeate the mental-health care system in

the ADOC.

      Finally, the Court recognized in the remedial order that “a party may not be

able to meet a deadline for reasons outside the party’s control or for other good

cause.” Doc. 1657 at 9. The Court instructed Defendants how to request an

extension of deadlines.      Id.    Requesting an extension would have required

Defendants to acknowledge that they were not in compliance. Defendants did not

seek an extension for any of the deadlines that have passed.

      Defendants should be ordered to show cause why their failure to comply with

this Court’s Order is not contempt.

                              REQUEST FOR RELIEF

      Prisoners with mental illness in the ADOC continue to receive

                                           14
  Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 15 of 18



constitutionally inadequate care. Increasing the amount of mental-health staff is a

necessary part of bringing an end to the constitutional violations found a year ago.

The ADOC delayed the start of the new contract and Defendants have failed to

comply with the Understaffing Remedial Order to promptly bring the staff up to the

levels required under the new contract. For these reasons, the Court should order

Defendants to show cause as to why Commissioner Dunn and Associate

Commissioner Naglich should not be found in contempt of the Phase 2A

Understaffing Remedial Order.

 Dated: July 2, 2018                   Respectfully Submitted,

                                       /s/ Maria V. Morris
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                                        15
 Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 16 of 18



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                                  16
 Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 17 of 18



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                                  17
   Case 2:14-cv-00601-MHT-GMB Document 1916 Filed 07/02/18 Page 18 of 18



                         CERTIFICATE OF SERVICE

I hereby certify that I have on this 2nd day of July, 2018, electronically filed the
foregoing with the clerk of the court by using the CM/ECF system, which will send a
notice of electronic filing to the following:

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                                        18
